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  5                                                          ay:~
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  8                                   UNITED STATES DISTRICT COURT

  9                                  SOUTHERN DISTRICT OF CALIFORNIA

 10   UNITED STATES OF AMERICA,                         ) Criminal Case No. 99cr13l8-JM
                                                        )
 11                         P          iff,             )
                                                        )
 12        v.                                           ) ORDER AND JUDGMENT
                                                        ) TO DISMISS INDICTMENT
 13   LUIS MARTINEZ-RUBALCAVA             (3) ,         ) AND RECALL ARREST WARRANT
           aka Luis,                                   )
 14        aka Luisito,                                )
           aka Trompudo, ,                              )
 15                                                     )
                            De                          )
 16
      ----------------------------------)
 17        Upon application of the Un                   ed States Attorney, and good cause
 18   appearing therefrom,

 19        IT IS HEREBY ORDERED that the                       ctment in the above-capt

 20   case is dismissed without prej                        and arrest warrant recalled as to

 21   defendant Luis Martinez-Rubalcava.

 22
 23        DATED:
                        /        I
 24

 25                                                                     JEFFREY T. MILLER
                                                                                                Judge
 26
 27

 28
